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                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          OCT 25 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
ASHLEY M. GJOVIK,                               No. 24-6058
                                                D.C. No.
             Plaintiff - Appellant,             3:23-cv-04597-EMC
                                                Northern District of California,
 v.                                             San Francisco
APPLE INC.,                                     ORDER

             Defendant - Appellee.

Before: W. FLETCHER, BERZON, and RAWLINSON, Circuit Judges.

      A review of the record demonstrates that this court lacks jurisdiction over

this appeal because the order challenged in the appeal is not final or appealable.

See 28 U.S.C. § 1291; Fed. R. Civ. P. 54(b); Chacon v. Babcock, 640 F.2d 221,

222 (9th Cir. 1981) (order disposing of fewer than all claims against all parties not

immediately appealable unless district court directs entry of judgment pursuant to

Fed. R. Civ. P. 54(b)); see also WMX Techs., Inc. v. Miller, 104 F.3d 1133, 1136

(9th Cir. 1997) (en banc) (dismissal of complaint with leave to amend is not

appealable). Consequently, this appeal is dismissed for lack of jurisdiction.

      All pending motions are denied as moot.

      DISMISSED.
